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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 16-24466-Civ-COOKE/TORRES

  YVONNE SOUCHET,

         Plaintiff,
  vs.

  CITY OF SWEETWATER, et al.,

        Defendants.
  ______________________/
                                   ORDER OF DISMISSAL
         THIS CASE has been DISMISSED with prejudice pursuant to Federal Rule of Civil
  Procedure 41(a)(1)(A)(ii), with each party to bear their or its own attorney’s fees and costs,
  except as otherwise agreed in their Settlement Agreement. See Joint Stip. for Dismissal with
  Prejudice as to All Defendants, ECF No. 90. The Court shall retain jurisdiction to enforce
  the terms and conditions of the settlement. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d
  1272 (11th Cir. 2012).
         The Clerk shall CLOSE this case. All pending motions, if any, are DENIED as moot.
         DONE and ORDERED in chambers in Miami, Florida this 4th day of January 2018.




  Copies provided to:
  Edwin G. Torres, U.S. Magistrate Judge
  Counsel of Record
